                         IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                            )
                                                    )
       v.                                           )       NO. 3:14-00007
                                                    )
KAREN MANOOKIAN                                     )



                                           ORDER

       By Order entered February 26, 2015, Docket Entry No. 42, Judge Campbell granted the

defendant’s motion to continue the change of plea hearing and rescheduled the hearing from March 5,

2015 to 9:00 a.m. on Wednesday, March 11, 2015. Therefore,

       It is hereby ORDERED that the hearing to consider defendant’s waiver of presentment of the

case to the Grand Jury and for arraignment is CONTINUED from March 5, 2015, to 8:30 a.m.,

Wednesday, March 11, 2015, in Courtroom No. 764, U.S. Courthouse, 801 Broadway, Nashville.

       It is so ORDERED.




                                             JULIET GRIFFIN
                                             United States Magistrate Judge




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